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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
VALENTIA VILLETTI and FAIZA JIBRIL, M.D.,

                                   Plaintiffs,                            18 CIVIL 10200 (MKV)

                 -against-                                                    JUDGMENT
GUIDEPOINT GLOBAL, LLC,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated August 11, 2021, Guidepoint has demonstrated that that it is

entitled to summary judgment as a matter of law on all claims. Accordingly, Guidepoint’s Motion for

Summary Judgment is GRANTED. Judgment is entered for Defendant and the case is closed.


Dated: New York, New York
       August 11, 2021




                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                             Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
